     Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 1 of 16




                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF ALABAMA
                         NORTHERN DIVISION

Brianna Boe, et al.,                   )
                                       )
Plaintiffs,                            )
                                       )
United States of America,              )
                                       )
Intervenor Plaintiff,                  )
                                       )
v.                                     ) Civil Action No. 2:22-cv-184-LCB
                                       )
Hon. Steve Marshall, in his official   )
capacity as Attorney General,          )
of the State of Alabama, et al.,       )
                                       )
Defendants.                            )

     DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO COMPEL
          DESIGNATION OF ADMIRAL RACHEL LEVINE
      Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 2 of 16




                                          TABLE OF CONTENTS



Table of Contents ....................................................................................................... i

Table of Authorities .................................................................................................. ii

Introduction ................................................................................................................1

Argument....................................................................................................................2

       I. Admiral Levine Has Highly Relevant, Unique Communications ...............2

       II. Making Admiral Levine A Custodian Is Proportional To The Needs
           Of The Case .................................................................................................7

Conclusion ...............................................................................................................10

Certificate of Service ...............................................................................................12




                                                              i
     Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 3 of 16




                                   TABLE OF AUTHORITIES

Cases

Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co.,
  297 F.R.D. 99 (S.D.N.Y. 2013) ............................................................................4

Garcia Ramirez v. U.S. Immigr. & Customs Enf’t,
  331 F.R.D. 194 (D.D.C. 2019) ...........................................................................10

In re Arby’s Rest. Grp. Inc. Litig.,
    No. 1:17-cv-0514-AT, 2018 WL 8666473 (N.D. Ga. Aug. 16, 2018) .................6

In re Facebook, Inc. Consumer Privacy User Profile Litig,
    No. 3:18-md-02843, 2021 WL 10282213 (N.D. Cal. Nov. 14, 2021) .................3

In re Ford Motor Co.,
    345 F.3d 1315 (11th Cir. 2003) ............................................................................3

MariCal, Inc. v. Cooke Aquaculture, Inc.,
  No. 1:14-cv-00366-JDL, 2016 WL 9459260 (D. Me. Aug. 9, 2016) ..............3, 4

Moore v. Armour Pharm. Co.,
  927 F.2d 1194 (11th Cir. 1991) ............................................................................6

Oxbow Carbon & Mins. LLC v. Union Pac. R.R. Co.,
  322 F.R.D. 1 (D.D.C. 2017)..................................................................................6

Philips Elecs. N. Am. Corp. v. BC Tech.,
   773 F. Supp. 2d 1149 (D. Utah 2011)...................................................................3

Rosen v. Provident Life & Accident Ins. Co.,
  308 F.R.D. 670 (N.D. Ala. 2015) .........................................................................8

Sec. Pest Control, Inc. v. Wells Fargo Bank, Nat’l Assoc.,
   532 F. Supp. 3d 1221 (M.D. Ala. 2020) ...............................................................8

Thomas v. City of New York,
  336 F.R.D. 1 (E.D.N.Y. 2020) ..............................................................................6



                                                       ii
      Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 4 of 16




Rules

Fed. R. Civ. P. 26(b)(2)(B) ....................................................................................4, 6


Other Authorities

8B Wright & Miller, Federal Practice & Procedure § 2218 (3d ed.) ......................4




                                                        iii
    Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 5 of 16




                                INTRODUCTION

      The United States refuses to turn over emails that it has apparently already

searched and that are responsive to search terms it agreed on from an indisputably

relevant HHS leader. Why? The United States’ opposition offers no good reason. It

cannot be explained by the substitution of a subordinate’s emails—that subordinate

departed months ago, before emails were even initially collected, the subordinate

was not privy to all emails before her departure, and adding a custodian would ensure

that all relevant, ongoing communications are captured. It cannot be explained by

the number of custodians—the United States proposed at least 10, Doc. 284 at 7, and

now has only 9. It cannot be explained by the official’s position—with respect to

custodians outside the Office of the Assistant Secretary for Health (OASH), the

United States trumpets that it designated “leaders” with positions in the organiza-

tional hierarchy equivalent to that of Admiral Levine. Doc. 307 (“Opp.”) at 2 & n.1.

It cannot be explained by any burden—again, the United States attests that it has

already pulled and searched emails at issue, which the United States says are few.

Yet the United States refuses to designate Admiral Rachel Levine, who has taken

the lead for the federal government on gender transition issues, even though it does

not dispute the relevance of Levine’s communications. Because Admiral Levine’s

emails are practically certain to contain relevant information not available from a




                                         1
      Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 6 of 16




subordinate’s inbox that has lain dormant for months, the Court should grant the

motion and compel the United States to add Levine as an email custodian.

                                   ARGUMENT

 I.    Admiral Levine Has Highly Relevant, Unique Communications.

       The United States does not dispute that Admiral Rachel Levine “has taken the

lead on issues implicated by Alabama’s law” on behalf of the federal government.

Doc. 302 (“Motion”) at 14. Nor does the United States dispute that the issues here

are “part of [Levine’s] portfolio,” that Levine’s trained “specialty is adolescent med-

icine,” or that Levine is a WPATH member and presenter. Id. at 14, 15, 17. Last, the

United States does not dispute that Levine has studied and repeatedly addressed rel-

evant issues. Id. at 7-8, 14-19; see Opp. 12.

       Though the United States tries to dismiss these facts because “Admiral Levine

is serving at HHS as a public official, not as a practicing doctor” (Opp. 12-13), the

point is that Admiral Levine’s medical experience (and WPATH membership) will

inform that work—and, by extension, communications with others. See Motion 24

(“Decades of medical experience also make it likely that Levine interprets and reacts

differently to medical literature than [attorney Maura Calsyn] does.”).

       Relatedly, the United States says that the Admiral Levine’s “role alone does

not make [the emails] subject to search.” Opp. 12. But Admiral Levine’s “position

of prominence” makes it more “likely” that email searches would reveal responsive



                                          2
     Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 7 of 16




information. MariCal, Inc. v. Cooke Aquaculture, Inc., No. 1:14-cv-00366-JDL,

2016 WL 9459260, at *2 (D. Me. Aug. 9, 2016); see In re Facebook, Inc. Consumer

Privacy User Profile Litig, No. 3:18-md-02843, 2021 WL 10282213, at *2 (N.D.

Cal. Nov. 14, 2021) (“key decision-makers” “are likely to possess unique, relevant

information”). The United States agrees that the “nine custodians” it designated are

“all” “leaders or play key roles in their division.” Opp. 2. And the United States has

already agreed that both OASH in general and Admiral Levine in particular have

relevant, responsive documents. It just wants to use the emails of a lower-ranking

former employee as a second-tier stand-in for Levine’s own emails.

       Indeed, the United States’ only real argument is that substituting a subordinate

who departed the office even before the initial email collection months ago for Ad-

miral Levine “is reasonable.” Opp. 6. That substitution is manifestly not reasonable.

       First, the United States relies on a few unpublished, out-of-circuit cases to

argue that “the court should play no role in dictating the design of the search” for

relevant materials absent “manifest[] unreasonable[ness].” Opp. 7. But a party facing

discovery may have an incentive not “to search in the right places for [responsive]

records.” Philips Elecs. N. Am. Corp. v. BC Tech., 773 F. Supp. 2d 1149, 1196

(D. Utah 2011).1 So a responding party’s choice of custodians cannot rest in its sole


1
  See, e.g., In re Ford Motor Co., 345 F.3d 1315, 1317 (11th Cir. 2003) (“[A]t times—perhaps due
to improper conduct on the part of the responding party—the requesting party itself may need to



                                               3
     Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 8 of 16




discretion—as the above cases compelling the addition of custodians show. See su-

pra pp. 2-3.2 Instead, under Rule 26(b)(2)(B), the United States must show “that the

information” sought from custodians “is not reasonably accessible because of undue

burden or cost.” As discussed below, it fails to do so, all but conceding that the added

search is not burdensome because it has already been performed.

       Regardless, the United States’ substitution of former employee Calsyn for Ad-

miral Levine flunks any standard of reasonableness. As the United States’ own case

explains, custodians should be added if “their inclusion in ESI searches is reasonably

calculated to lead to relevant evidence that might not be captured if they were ex-

cluded.” Fort Worth Emps.’ Ret. Fund v. J.P. Morgan Chase & Co., 297 F.R.D. 99,

106 (S.D.N.Y. 2013) (cited at Opp. 10-11, 13). Here, the United States never

acknowledges that the Defendants seek to add Admiral Levine as a custodian—not

remove Calsyn—so it makes no difference if Calsyn would have a large “repository

of emails that [a]re responsive to Defendants’ discovery requests.” Opp. 8. The ques-

tion for relevance is whether Calsyn would have all the responsive documents that




check the [responsive electronic document] compilation.”); 8B Wright & Miller, Federal Practice
& Procedure § 2218 (3d ed.) (noting cases in which “the opposing party had been less-than-forth-
coming” with electronic materials).
2
  The United States practically concedes the point, saying it “is bound to designate the individual
who is most likely to have responsive information.” Opp. 9 (emphasis added). What binds the
United States is “the Court’s authority.” MariCal, 2016 WL 9459260, at *2. And there is no need
to choose a single OASH custodian—both Calsyn and Levine can be custodians, as Defendants
ask.

                                                4
    Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 9 of 16




Admiral Levine would. The United States does not argue that the answer is yes. And

for good reason. The United States concedes that:

      1. Calsyn left her position before the first batch of emails was even
         collected. Opp. 3 n.2.

      2. Calsyn left her position months ago, apparently in late May or early
         June, meaning that batches of emails after that date will include
         nothing. See Doc. 294 at 5; see also Doc. 227-1 at 5 (noting “con-
         tinuing nature” of Defendants’ document requests).

      3. Even during her time at OASH, Calsyn did not receive all emails
         that Admiral Levine received or sent. Opp. 5.

Thus, it is hard to understand how the United States could claim that Admiral Levine

would not have at least some responsive, relevant emails not captured by searches

of Calsyn’s old inbox. At a bare minimum, Calsyn’s emails since her departure in

early June are a null set; Levine must have responsive emails from that timeframe,

when many relevant developments in this area have occurred.

      According to the United States, “[g]iven that Ms. Calsyn worked closely with

Admiral Levine, Defendants will receive responsive emails that the two of them ex-

changed with one another and that Admiral Levine sent out.” Opp. 8. But the United

States will not say that this production will include all responsive emails involving

Admiral Levine, even during Calsyn’s employment. That “80% of the emails” Ad-

miral Levine sent were forwards to other individuals, who may have then forwarded

some unknown percentage of those emails on to Calsyn, Opp. 5, establishes neither

that Calsyn received all the responsive emails that Admiral Levine received nor that

                                         5
    Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 10 of 16




she was forwarded all the responsive emails that Admiral Levine sent. As other

courts have held, the “kind of splicing” proposed here “with the hope that the amal-

gam of information is the universe of relevant discovery is an inappropriate collec-

tion and production methodology.” Thomas v. City of New York, 336 F.R.D. 1, 3

(E.D.N.Y. 2020).

       In sum, any production that substitutes a former subordinate’s emails for the

ongoing, responsive communications of the key leader who all agree is the most

relevant communicator will be both “unreasonable” and “deficient.” Opp. 9.3

       For similar reasons, designating Admiral Levine is likely to result in unique

information. The Defendants do not concede that Rule 26 entails a heightened

“uniqueness” standard here, as some overlapping disclosure in the interest of “full

discovery” is common. Moore v. Armour Pharm. Co., 927 F.2d 1194, 1197 (11th

Cir. 1991).4 And before obtaining responsive documents, the requesting party has no

way to prove that “each custodian” has “unique relevant information.” Opp. 10. But

even applying a uniqueness standard, Admiral Levine must be designated. As just



3
  The United States dwells on its “procedures for non-email documents within OASH.” Opp. 9-
10; id. at 11-12 (discussing “the manual collection of documents”). Those procedures are not the
subject of this motion so are irrelevant. Those documents do not substitute for Admiral Levine’s
emails. And the United States did not manually collect “documents that ‘belong’ to Admiral Lev-
ine” anyway. Declaration of Sarah Boateng, Doc. 307-1 ¶ 32.
4
  See Oxbow Carbon & Mins. LLC v. Union Pac. R.R. Co., 322 F.R.D. 1, 7 (D.D.C. 2017)
(“[w]eighing the six Rule 26 proportionality factors” in deciding whether to add a custodian); In
re Arby’s Rest. Grp. Inc. Litig., No. 1:17-cv-0514-AT, 2018 WL 8666473, at *3 (N.D. Ga. Aug.
16, 2018) (same).

                                               6
      Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 11 of 16




explained, it is a certainty that Calsyn will not have all of Admiral Levine’s respon-

sive emails. Thus, adding Admiral Levine as a custodian will result in unique infor-

mation—from all the emails Calsyn did not receive, including during the times when

she has not been working at OASH.

II.     Making Admiral Levine A Custodian Is Proportional To The Needs Of
        The Case.

        The United States’ proportionality argument is also meritless. The United

States starts off broadly contesting the relevance or importance of OASH communi-

cations, noting for example the irrelevant fact that “a completely separate operating

division (NIH)” funds “research.” Opp. 15; see id. at 15-16. Yes, and that is why

NIH is a relevant HHS component. The United States has already agreed that OASH

is also a relevant HHS component, see, e.g., Doc. 302-1 at 8, and under Levine’s

leadership, OASH itself issued relevant guidance. See Motion 14 & n.10. The only

question is whether the United States may search only select emails from a former

employee or must include all relevant emails from OASH’s head. As shown, omit-

ting those emails would deprive the Defendants of relevant, important information

that cannot be obtained elsewhere.

        The United States’ accusation that Defendants are somehow “fixat[ed]” on

Admiral Levine or targeting an individual “who happens to be transgender” (Opp. 1,

15) is far off the mark. Only the United States put Admiral Levine’s personal status

at issue. And only the United States is treating this situation differently: It agrees


                                          7
   Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 12 of 16




that for other relevant HHS divisions, it designated the “leaders,” almost entirely

“Directors.” Opp. 2 & n.1; see Motion 19-20. But for OASH, the United States is

trying to substitute a lower-tier former employee.

      The United States’ proportionality argument also fails because it makes no

effort to show that “the burden or expense of the proposed discovery outweighs its

likely benefit.” Sec. Pest Control, Inc. v. Wells Fargo Bank, Nat’l Ass’n, 532 F.

Supp. 3d 1221, 1233 (M.D. Ala. 2020). Indeed, the United States makes nary a peep

about burden, other than the unsupported assertion that designating Admiral Levine

would “inhibit HHS’s ability to meet the October 20, 2023, discovery deadline.”

Opp. 17; contra Rosen v. Provident Life & Accident Ins. Co., 308 F.R.D. 670, 680

(N.D. Ala. 2015) (“The party resisting production of information bears the burden

of establishing lack of relevancy or undue burden in supplying the requested infor-

mation.” (cleaned up)).

      The United States’ own declaration mocks this threat of delay. First, the dec-

laration says that “the burden of” producing all of Admiral Levine’s emails respon-

sive to the third-party FOIA request would be “very small.” Boateng Decl. ¶ 13.

Considering that the United States views Defendants’ requests as interchangeable

with the third-party FOIA request, see Doc. 302-1 at 2 (“the search terms in the




                                         8
    Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 13 of 16




FOIA request are sufficiently broad enough to unearth all responsive documents”),

how could the burden here be so different?5

       Second, the United States’ declarant says that “[o]n average, Admiral Levine

sends approximately 11 emails each day,” and “[l]ess than 4% of those emails” “hit

on the search terms proposed by Defendants.” Boateng Decl. ¶ 22. Still, the declarant

insists, the government would have to “review an additional 6,559 documents solely

from Admiral Levine’s Outlook files.” Id. In the context of modern e-discovery, that

is not a large number. It is half the number “that OASH has already collected and

reviewed.” Id. And the United States does not say how many of these documents it

has already reviewed for Calsyn’s production or under the FOIA request—and thus

would incur no added burden to review. Nor does the United States address its prior

stipulation that it would “deduplicate (i.e., within and across custodians) using

commercially acceptable e-Discovery software,” which “mitigate[s]” “any overlap

of documents procured from Calsyn and Levine.” Motion 23. If the United States’

declarant is right that “few” of the 6,559 documents would be “unique,” Boateng

Decl. ¶ 22, then a few clicks of a mouse would largely accomplish the “review” of

which the United States frets (in a footnote, Opp. 17 n.4). See Garcia Ramirez v.




5
  After making this third-party FOIA request a centerpiece of negotiations, the United States now
abandons it. The United States does not contest that “[e]xpanding the FOIA search by seven
months and eight search terms will produce unique, relevant information” or that any burden of
this expansion is slight. Motion 25-26.

                                               9
   Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 14 of 16




U.S. Immigr. & Customs Enf’t, 331 F.R.D. 194, 198 (D.D.C. 2019) (finding no un-

due burden when the responding party “d[id] not respond to [the] assertion that the

‘de-dupe’ technology will greatly reduce the number of documents to be reviewed”).

      Given the relevance of Admiral Levine’s ongoing, responsive emails and the

conceded lack of burden in producing those emails, designating Admiral Levine as

a custodian is proportional to the needs of the case.

                                  CONCLUSION

      For these reasons, the Court should compel the United States to add Admiral

Levine as a document custodian.




                                          10
  Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 15 of 16




Date: August 25, 2023               Respectfully submitted,
                                    Steve Marshall
                                     Attorney General
Christopher Mills (pro hac vice)    s/ Edmund G. LaCour Jr.
SPERO LAW LLC                       Edmund G. LaCour Jr. (ASB-9182-
557 East Bay Street, #22251         U81L)
Charleston, South Carolina           Solicitor General
29413                               A. Barrett Bowdre (ASB-2087-K29V)
(843) 606-0640                      Principal Deputy Solicitor General
CMills@Spero.law
                                    James W. Davis (ASB-4063-I58J)
                                     Deputy Attorney General
David H. Thompson (pro hac
vice)                               Benjamin M. Seiss (ASB-2110-
Peter A. Patterson (pro hac vice)   O00W)
Brian W. Barnes (pro hac vice)      Charles A. McKay (ASB-7256-K18K)
John D. Ramer (pro hac vice)         Assistant Attorneys General
COOPER & KIRK, PLLC                 OFFICE OF THE ATTORNEY GENERAL
1523 New Hampshire Ave., NW         STATE OF ALABAMA
Washington, D.C. 20036              501 Washington Avenue
(202) 220-9600                      Post Office Box 300152
dthompson@cooperkirk.com            Montgomery, Alabama 36130-0152
ppatterson@cooperkirk.com           Telephone: (334) 242-7300
bbarnes@cooperkirk.com              Facsimile: (334) 353-8400
jramer@cooperkirk.com               Edmund.LaCour@AlabamaAG.gov
                                    Barrett.Bowdre@AlabamaAG.gov
                                    Jim.Davis@AlabamaAG.gov
                                    Ben.Seiss@AlabamaAG.gov
                                    Charles.McKay@AlabamaAG.gov
   Case 2:22-cv-00184-LCB-CWB Document 309 Filed 08/25/23 Page 16 of 16




                        CERTIFICATE OF SERVICE

      I certify that I electronically filed this document using the Court’s CM/ECF

system on August 25, 2023, which will serve all counsel of record.

                                      s/ Edmund G. LaCour Jr.
                                      Edmund G. LaCour Jr.
                                      Counsel for Defendants
